      ~,~.~ dh                                d
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 1 of 46 Page ID #:1

                                                                                                       ~~~~~
 1    Pro Se Litigant.
      ~ilritle (International Law Attorney)

                                                                                          ~~t~ 0~~ 24 P~ 3~ 5
 2    Idea Factory Labs Limited
      Post Office 333 E Arrow Hwy
      Upland CA
 3    General Delivery                                                                                             ;, ~ ,_         -
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                                                                                                                             L,
      Attention Guillermo Antonio Herrera Argueta                                                             ~   4.
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      951 381 0936
                                                                                                                  RS
 4
      ideafactorvlabslimited(a~~gmail.com
 5

 6
             United States District Court
 g                               For The Western Division
 9

~o                                                     t.~- C V 1 ~ 09~ ~
11
       District of Los Angeles, California United States of America
12

13

14
                                                    ~ase No.:
15
      Idea Factory Labs Limitec
      Plaintiff
16

17
                                                    [nitial complaint, Discovery, Causes Damages and Motions
18

19

20

21
     § A)                                                  INTRODUCTION
22
                  Honorable connoisseur and to all parties of record involved. With utmost
23
     respect, plaintiff hereto brings a first initial complaint against the public
                                                                                   entity
24   of Apple Inc. Company that trades under ticker symbol AAPL on the NYSE and several

25   other global indexes like BIT and SWX. The transnational is a California based
                                                                                    entity

26   located in Cupertino California. This complaint remarks malfeasances of jurispruden
                                                                                         ce;
     criminal transgressions, addressing torts, and federal negligence.
27

28   ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 2 of 46 Page ID #:2




 ~I ` i                                 JURISDICTION
 2            This court has presiding jurisdiction over this legal matter, hence the events

 3    took place within The United States of America, and State of California on Cities of

 4    Cupertino identified with the GPS coordinates. Latitude: 37.323 and Longitude -

      122.0323 and the city of Upland California Latitude: 34.099619 Longitude: -117.67946.
 5
      By this means plaintiff in good faith seeks to give solution at domestic level to the
 6
      matter. Plaintiff already exhausted the administrative remedies within the public
 7
     entity to solve the issues with no luck. True fact of the transnational existing in
 8
     other countries other than the country in which headquarters is, the United States;

 9   extended territoriality exists in this particular case hence their business is

10   conducted globally. The Amoco International Finance Corp. Case, 15 Iran-US C.T.R. 189

11   (1987). Disregard the factual existence of extended territoriality, to respect the

     precedence of International Law Procedure; it is a must for plaintiff to exhaust
12
     remedies at domestic level, therefore jurisdiction pertains to the United States of
13
     America.
14

15
     ~ § ~)                      JUSTIFICATION ON CLAIM
16

17            A party may bring a claim against any entity, disregard if the entity is public

     e.g Broadcom Corp. v. Qualcomm Inc. 501 F. 3d 297 - Court of Appeals, 3rd Circuit
18
     (2007). Disregard if the agency is private e.g USSEC v. Deloitte Touche Tohmatsu CPA
19
     Ltd. 928 F. Supp. 2d 43 - Dist. Court, Dist. of Columbia (2013), disregard if
20
     governmental Hayden v. National Sec. Agcy./Cent. Sec. Serv. 608 F. 2d 1381 - Court of
21
     Appeals, Dist. of Columbia Circuit (1979).
22   government entities like the bureau itself Antonelli v. FBI 721 F. 2d 615 - Court of

23   Appeals, 7th Circuit(1983) or cases like Assassination Archives and Research Ctr. v.

24   CIA 334 F. 3d 55 - Court of Appeals, Dist. of Columbia Circuit (2003). Extended

25   Liability beyond entities falls to nations Colombia v. Peru -> Haya de la Torre Case,

     (1951) I.C.J. Rep. 71, I. C. J. 71 Court of Appeals (1951);   at international level
26
     Bradley v. Wingnut Films Ltd, N.Z.L.R.1 415. (1993). Plaintiff's claim is brought in
27
     good faith. This initial complaint is intended to seek justice for the harm Apple Inc.
28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
       Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 3 of 46 Page ID #:3



 1      did against plaintiff. This initial brings causes forward against Apple Inc. Plaintiff


 2      by opting to exercise "The Right to Sue" Baines v. Babcock, 95 Cal. 581, 27 P. 674

       (1892). "Everybody is in the capacity of suing"           THE BLACKWALL 77 US 1, 19 L. Ed. 870
 3
        - Supreme Court (1869); Barnstead v. Empire Min. Co. 5 Cal. 299 - (1855). Apple Inc.
 4
        is sued in it's official capacity. Plaintiff here in brings causes forward against
 5
        Apple In. (see §F~ in this document.
 6

 7
               Nobody is immune in light of the law, whether is common law, federal law,
 g l
        military law or international law. Some contradictory patterns are identified between
 9 '
       Military Law vs. International Law for when Military Law, supported by Federal Policy
10
       under United States Jurisdiction by previous decisions within United States Court
11
       System, make some high rank officials in The United States military inmune. Public
12     entities don't fall under this indemnity clause. Disregard the disposition on a case
                                                                                            a
13     party may bring causes against any entity in which liability exists Klein v. Pyrodyne

14     Corporation 810 P. 2d 917, 117 Wash. 2d 1 - Wash: Supreme Court (1991). Plaintiff

15     ' seeks justice to the existent transgressions and to assess such liabilities.

       Furthermore to exercise. The right to not suffer injustice Laws of Nations Vattel
16
       Chapter VII Of Commerce (1758) §65
17
              "Nature would give us a right not to suffer from suffering injustice"
18
       Any person has the right to an actionable cause against other parties R8fa21 V. Vel'81Sf,
19
       96 Eng. Rep. 621, 2 W. 81. 1055(1776); Roberts v. Knights, 7 Allen 449, 7 Allen (Mass.) 449 (1863);
20
       Edgerly v. Bush, 81 N. Y. 199 (1880); Godard v. Gray, 6 Q.B. 139 (1870);
21
       Conflicts of Laws Beale Volume 1.        Right of Action     Pennoyer v. Neff 95 US 714, 24 L.
22
       Ed. 565, 24 L. Ed. 2d 565 - Supreme Court (1878).
23

24

25

26

27

28     ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 4 of 46 Page ID #:4



 1 i. ~                                 BACKGROUND
 2

 3 '
               On 2012 Plaintiff Idea Factory Labs Limited represented by Guillermo Antonio
 4
       Herrera Argueta herein referred to as Gantie Computer Scientist (Harvard University

 5     online), Jurisprudence Masters 10 years and Government Studies, California Criminal

 6     law, Civil, Constitutional, Federal, and International Law (Louvain University) a

 7     visionary entrepreneur, scholar of many branches of the tree of knowledge known as

       eugenics, a stock broker and market watcher herein referred to as "plaintiff" a lawful
 8
       emigrant inbound to the United States, victim of several malfeasances of jurisprudence
 9
       when submitting his ideas as a stockholder to Apple Inc. plaintiff designed iPadMini.
10
       The innovation did not lack novelty United States v. Adams 383 US 39, 86 S. Ct. 708,
11
       I5 L. Ed. 2d 572 - Supreme Court (1966).    The original and initial concept / patent
12
       was donated to the company as courtesy to establish long term business relationships,

13     this was accomplished through social media, the transfer of ownership was done though

14     twitter, not in verbal manner Gates Iron Works v. Fraser 153 US 332, 14 S. Ct. 883, 38

15     L. Ed. 734 - Supreme Court, (1894). Plaintiff in good faith driven by animus donandi

       assigned the first patent to Apple Inc. Boesch v. Graeff 133 US 697, 10 S. Ct. 378, 33
16
       L. Ed. 787 - Supreme Court (1890). Hand drawn rough drafts and digital sketches were
17
       sent out inbound to Apple's SMTP Serves.   At the time of the transgressions plaintiff
18
       an alien, now after a decade plaintiff pledge religion to the flag of the United
19
       States of America. Disregard the emigrations status of a person an alien may own,
20
       design and develop patents Shaw v. Cooper 32 US 292, 8 L. Ed. 689 - Supreme Court

21     (1833). an inalienable right in The United States of America, country in which the

22     intellectual property of many of plaintiff's projects is held.   A person is authorized

23     to own property as per California Penal Code X671. Plaintiff continued to design

       products and reserving the rights to the them, including the rights to distribution,
24
       manufacturing and other rights. A person has the inalienable rights of selling and
25
       profiting from it's property Laws of Nations Vattel Chapter VII Of Commerce (1758).
26
       X89 "Right of Selling". Plaintiff was deprived from this right as specified more in
27
       detailed later on on section §F on this document. Plenty of the products put out for
28     INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 5 of 46 Page ID #:5



 1   sale on the market, globally by the transnational were trolled from plaintiffs

     intellectual property. It is a fact that the transnational is selling the products
 2
     globally. A patent for an invention is as much property as a patent for land. "The
 3
     right rests on the same foundation, and is surrounded and protected by the same
 4
     sanctions. Neither an individual nor the public can trench upon or appropriate what
 5
     belongs to the other."   Consolidated Fruit-Jar Co. v. Wright
 6
     94 US 92, 24 L. Ed. 68 - Supreme Court (1877).

 7
       This products were produced by the imagination of the innovator in this case the
 8
     plaintiff. The public entity Apple Inc. profited out of them, globally. The
 9
     transnational abused the kindness of plaintiff and produced other products based on
10
     the patents plaintiff designed. This not donated to the company yet, produced and
11
     innovation pertaining to plaintiff's intellectual property willfully trolled. Johns
12   Hopkins University v. Ce11Pro, Inc. 152 F. 3d 1342 - Court of Appeals, Federal Circuit

13   (1998) Apple Inc. generated substantial market capital from the products. Plaintiff

14   bonafide idea was to implement new features and modify products, processes for

15   existing system including security algorithms to safeguard the privacy and protect the

     company's customers. "Any modification to an existing process or product may be
16
     patentable" Paramount Publix Corp. v. American Tri-Ergon Corp. 294 US 464, 55 S. Ct.
17
     449, 79 L. Ed. 997 - Supreme Court (1935).
18
           Apple Systems are UNIX based, their kernel: Darwin is a modification to the
19
     original ones from the URL https://www.kernel.org/ "kernel" defined as the most basic

20   level or core of an operating system of a computer, responsible for resource

21   allocation, file management, and security. The software fundamental which allows a

22   system to operate logically, the portion of software which makes hardware functional

23   between user interaction and components.   Originally "The Kernel" created from AT&T

     and Linus Torvalds. Apple Inc. systems operates on modified open source software.
24
     Rooted inventions that branch from the GNU license. The license allows users to modify
25
     the existing code at your convenience and sell it. The open source software culture.
26
     This may be found in the URL   https://www.gnu.org/licenses/gpl-3.O.en.html
27

28   ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 6 of 46 Page ID #:6



 1          Plaintiff developed for the Linux Community for 19 years as well an independent

 2    developer for Apple Incorporated, as Apple Developer plaintiff cooperated in the

      development of application like SIRI which beta version was tested on iPhone 3Gs
 3
      devices, this secret not known to the public and the masses. The company later
 4
      restricted the use of Siri on 3Gs devices and offered it new feature on iPhone 4, a
 5
      marketing principal. The first versions of Siri was developed and tested on
 6
      plaintiff's iPhone 3Gs. First Queries on the Siri servers were made by plaintiff's

 7    iPhone at Chilis Montclair Plaza and near Upland CA. This linked to his iCloud

 8    account. Plaintiff innovated for the technology community not just for Apple Inc. all

 9    his life; after the first gift to Apple Inc. the company claimed ownership of

      plaintiff's innovation. The modification to an existing product or process constitutes
10
     a new version of a product as per the Company's culture; by outputting generations of
11
     the products which contained the original functionality within components implemented
12
     to the evolution of the devices made available to the masses as next releases
13
     containing plaintiff's intellectual property. Plaintiff became victim of white collar
14
     crimes.

15          "Any modification to a process may be patented." Whelan Associates v. Jaslow

16   Dental Labor. 609 F. Supp. 1307 - Dist. Court, ED Pennsylvania (1985). Plaintiff was

17   deprived from this benefit. The implementation of physical components (hardware)

     designed by plaintiff to the integration of Apple Products was trolled by the company.
18
     The constitutional theft of benefiting from others intellectual property became
19
     factual.   Ideas are intangible assets, this assets become patents. The patents were
20
     pending. New versions of this products were made available to the masses for lucrative
21
     purposes. The products then solidified intangible assets became tangible assets, which
22
     the company profited out of. The company acted with animus lucrandi and animus malus.

23   The company for a period of six years profited by out of plaintiff innovation by

24   implementing the new features plaintiff designed. Plaintiff never benefited from

25   profits in which he was entitled to. Universal Pictures Co. v. Harold Lloyd

     ' Corporation 162 F. 2d 354 - Circuit Court of Appeals, 9th Circuit (1947). The public
26
     entity's animus furandi was factual. Apple Inc. animus et factum was to profit out of
27
     ~ a foreign to their proprietary intellect. The features were implemented not only on
28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 7 of 46 Page ID #:7



 1   ~iPad Mini which continued to evolve. To today's date the public use of the patent is

 2 ( factual. A patent is to be in public use if the product is in circulation Smith &
      Griggs Mfg. Co. v. Sprague 123 US 249, 8 S. Ct. 122, 31 L. Ed. 141 - Supreme Court,
 3
     (iss~).
 4
            The features were implemented on the following products. iPhone 5S, iPhone SE,
 5
     iPhone 6, iPhone 6 Plus, iPhone 65, iPhone 6S Plus, iPhone 7, iPhone 7 Plus, iPad mini
 6
     2, iPad mini 3, iPad mini 4, iPad Air 2, iPad Pro 12.9 1G, iPad Pro 9.7, iPad Pro

 7   10.5, iPad Pro 12.9 2G iPad (2017), iPad (2018), iPhone 8, iPhone 8 plus added any

 8   Apple product which is excluded from this list which was not approved for sale in the

 9   United States of America though touch ID capable. Touch ID was plaintiff's idea. This

     idea implements biometric capability recognition to the devices. "Touch ID" is a
10
     fingerprint recognition system. It scans fingerprints of the user, for when touched
11
     and or pressing the home button of the device. The feature was designed and released
12
     under Apple Inc. making the company liable, as per advertised in several sites like
13
     h ttps://en.wikipedia.org/wiki/Apple Inc.   The products itself as per the printed text
14
     on the back of the design. Some products read "Designed in Cupertino California" which

15   is sham. The device was designed in Upland California. Utilizing deceptive practices

16   on representation on designations of geographic origin in connection with goods, is a

17   transgression to Civil Code X1170 describes deceptive practices. This feature was

     designed with the objective in mind to secure the identity of the users and provided
18
     top notch service to Apple users, to later develop the market for government. This
19
     included special made builds versions of the iOS, OSx and Hardware. The feature allows
20
     users to unlock Apple devices utilizing their biometrics in this case fingerprints.
21
     The feature and project evolved, the transnational later implemented Apple Pay with
22
     the fingerprint scanner. The scope of the project was to reduce cash transactions and

23   to successfully do financial transactions by utilizing a person's biometrics, mainly

24   banking. This concept developed with animus of ameliorating white collar crimes like

25   money laundry schemes and drug purchases with cash. It was first implemented at the

     Apple iTunes Store then the App Store, followed by iBooks Store later on morphed and
26
     evolved to Apple Pay which is now globally accepted in several establishment for
27
     commercial purposes. The feature now part not only of iOS but OSx devices since 2012,
28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 8 of 46 Page ID #:8



 1   later in 2015, Apple introduced a faster second-generation Touch ID in the iPhone 6S;


 2   a year later implemented to OSx devices like MacBook Pro.                                    '

             The original iPad Mini (The gifted patent) didn't have this feature
 3
     implemented, it was a rushed to production, a prototype; Plaintiff's original design
 4
     depicted the dimensions and the idea of the creation of a smaller hand held device, as
 5
     per the original file designed by plaintiff. The product was an overnight widespread
 6
     success Diamond Rubber Co. of NY v. Consolidated Rubber Tire Co. 220 US 428, 31 S. Ct.

 7   444, 55 L. Ed. 527 - Supreme Court (1911).       It is a fact that plaintiff's innovation

 8   was implemented. The innovations did follow the same pattern, giving plaintiff grounds

 9   on innovator rights. Bennet v. Fowler 75 US 445, 19 L. Ed. 431 - Supreme Court (1869)

     "If the improvements set forth in both specifications had been incorporated into one
10
     patent, the patentee taking care to protect himself as to all his improvements by
11
     proper and several claims, it would have been sufficient... The improvements were
12
     embraced in one, in the original patent".
13

14          The generations of the Apple products followed a succession pattern of


15   outputting new versions of the original concept design. The application of

     intellectual property when implementing new components and features onto existing ones
16
     was an unlawful act that transgressed onto plaintiffs rights. Patent laws and
17
     innovator rights apply to every version of the products Stimpson v. Woodman 77 US 117,
18
     I~, 19 L. Ed. 866 - Supreme Court (1870).   "Inventions secured by letters patent are
19
     ' property, and as such they are under the protection of the Constitution of the United

20   States and the laws of Congress. When duly secured in that way the patentee acquires

21   the exclusive right, if the invention is a machine, to make and use the same and to

22   vend it to others to be used during the entire term for which it was granted, as

     provided by law"; Gandy v. Main Belting Co. 143 US 587, 12 S. Ct. 598, 36 L. Ed. 272 -
23
     Supreme Court (1892). "Right of the patentee to his invention should not be denied by
24
     reason of the fact that he had made use of it, or put it on sale abroad".      For if it's
25
     a new process to be implemented may be patententable. The idea, a bona-fide innovation
26
     which de facto generated profits. "Process, mode, or method"      Corning v. Burden 56 US
27
     252, 14 L. Ed. 683, 12 S. Ct. 949 - Supreme Court (1854).

28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
       Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 9 of 46 Page ID #:9



 1 ~           "Any variation of the product facsimile belongs to the imagineer / innovator"


 2     O'REILLY ET AL. v. MORSE ET AL. 56 US 62, 14 L. Ed. 601, 1853 US LEXIS 273 - Supreme

       Court (1853). The products the transnational is profiting from, are de facto being
 3
       traded at international scale. Foreign Trade then defined: Laws of Nations Vattel
 4
       Chapter VII Of Commerce (1758) §85 The Utilities of Foreign Trade. Though the product
 5
       did not have all the designed features implemented, it's similitude in design to the
 6
       original (iPadMini) is factual, therefore it may be claimed as infringement Standard

 7     Havens Products v. Gencor Industries 953 F. 2d 1360 - Court of Appeals, Federal

 8     Circuit (1991).   There was never a first initial design for iPadMini. The current

 9     versions as of today's date being sold by the transnational was the original concept

       designed by plaintiff which is the current one for sale on the market which has the
10

       Apple Pen. When adopting the elements designed by plaintiff Apple Inc. trespassed.
11
       Disregard the fact of the iPad Mini not being Apple Pen capable as of today's date
12
       implemented Apple in fact did adopted this elements. "When a party has invented some
13
       mode of carrying into effect a law of natural science or a rule of practice, it is the'.
14
       application of that law or rule which constitutes the peculiar feature of the

15     invention". Sewall v. Jones 91 US 171, 23 L. Ed. 275 - Supreme Court (1875).    FACT:

16     The existing discrepancy between the dates of creations of the files which depict the

17     concept of the patent is significant. The metadata of the original file sent from

       plaintiff to Apple is factual. Metadata defined as the binary part of the file in
18
       which information is collected and outputs (1)information about the date the digital
19
       file was created, (2)the software in which the digital file was created, (3)the
20
       platforms of the device used as medium in which the file was created and even (4)the
21
       hardware and version of the software used to create the digital. Comparing the dates

22
       release versus file presented as evidence proves plaintiffs claim to be plausible. The

23     ownership of the innovation then proven.   For marketing purposes Apple Inc. applied a

24     marketing technique of dissecting features vs. implementation and product release. The

25     original design had all the new features contained in the original design which

       included the Apple Pen. a current feature a first component introduced later as a
26
       component. The original design was done utilizing open source software InkScape vector
27
       graphic production software from the UNIX foundation on a Linux operating system
28
       INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 10 of 46 Page ID #:10



 1    Fedora. This may be corroborated on the metadata of the digital file which contains

      the intellectual property of the original design which is contained within plaintiff's
 2
      iCloud account. This account is compromised and hacked. The company has failed to aid
 3
      plaintiff in unlocking the account after exhausting administrative remedies and
 4
      calling their customer service. Plaintiff can prove the ownership of the account.
 5
      Apple's Inc. apologetic behavior factual when asked to cooperate.
 6

 7
      § E)                         STATUTE OF LIMITATIONS
 s
               The statute of limitation for plaintiff to bring a plausible causes are within
 9
      valid period of time. Just the hint of bringing a suit forward against an entity is
10
      enough to state factually of the intentions of a party to bring legal causes forward
11
      and to extend the time period for if needed, Standard Oil v. Nippon Shokubai Kagaku
12
      Kogyo Co. 754 F. 2d 345 - Court of Appeals, Federal Circuit (1985). Plaintiff earlier

13    this year attempted Asses Truth Before Igniting Legal Procedure (A.T.B.I.L) Pursuant

14    to California Penal Code §1054(a). Plaintiff through electronic means attempted to

15    contact Apple Inc. by sending an email at legal@apple.com this were failed attempts.

      The database transactions on the email accounts a solid evidence of plaintiff
16
      intentions to open a claim added an electronic judicial notice. The claim still within
17
      the valid legal window of bringing clauses forward henceforth plausible. Some statue
18
      limitations of the causes brought forward may begging at any time.
19

20
      §~                                        CAUSES
21

22    § F-1)                CRIMINAL CAUSES ROOTED ON THE EVENT

23                    For every transgression, vexation, or trespassing to a statues

24             "Penal Power to award constitution, liability of defendant" People v. Jackson

               (1938). The company for a prolonged period of time, continued their deceptive
25
               practices and the criminal negligence became factual onto breaching several
26
               statues of the law. Not only by trolling patents, but furthermore by
27
               trespassing on several counts of fraud, embezzlement, and conspiracy.
28    INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 11 of 46 Page ID #:11



 1
            § F-1-1)                      FRAUD BY DECEIT
 2
                       Plaintiff herein brings initial causes for fraud by deceit against Apple
 3
            Inc. Plaintiff was victim of fraud by deceit Coscia v. McKenna & Cuneo 25 P. 3d
 4
            670, 108 Cal. Rptr. 2d 471, 25 Cal. 4th - Cal: Supreme (2001). Fraud defined in
 5
            California Penal Code §8. Plaintiff when submitting the idea to the company,

 6          the public entity replied with a unsolicited idea policy. The company ignored

 7          to interpret properly laws that safeguard the integrity of mindsets which will

 8          protect the innovator and person's intellectual property. Negligence on policy

            interpretation and the application this statues. "Policy of
 9
            interpretation"      Shay v. Roth, 64 Cal. App. 314, 221 P. 967 (1923).
10
                   The company's animus defraudare by deceiving becomes a fact. "The United
11
            States Supreme Court has endorsed the fraud-on-the-market principle, and
12
            federal courts routinely apply it to compensate the victims of securities fraud
13
            in actions brought under federal securities laws". Mirkin v. Wasserman 858 P. 2c

14          568, 5 Cal. 4th 1082, 23 Cal. Rptr. 2d - Cal: Supreme (1993).

15                     If internal company's policy transgresses on a criminal statute of the

16          law and corporate precedence are not reasonable, the company then itself it's

            liable for it's transgression Block v. Tobin 45 Cal. App. 3d 214, 119 Cal. Rptr
17
            - Cal: Court of Appeal, 1st (1975).        "Public rights will not be relinquent or
18
            conveyed away by inference or legally contradictory"      Hall v. Geiger-Jones Co.
19
            242 US 539, 37 S. Ct. 217, 61 L. Ed. 480 - Supreme Court      (1917). A public
20
            entity shant convey away a person's rights, added fact: Legislature superseeds

21          corporate policy and policy hierarchy respected as precedence. The company by

22          deceiving, de facto transgresses.      "Laws to remain in force" Blevins v.

23          Mullally, 22 Cal. App. 519, 135 P. 307 (1913).     Statements in advertising

24          communicated by means of other mass media and cannot be used to avoid animus

            inducendi. As a stockholder plaintiff was entitled to engage in business and
25
            bring intangible assets to the table, "Any party may wills to exercise its
26
            right to engage in business". Angelopulos v. Bottorff, 245 P. 447, 76 Cal. App.
27
           621, 76 Cal. 621 (1926).
28    INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 12 of 46 Page ID #:12



 1          Apple's company policy attached the URL link which contains the companie's


 2          policy https://www.apple.com/legal/intellectual-property/policies/ideas.html

                     The factual bogusness within the unsolicited ideas policy are deceiving
 3
            lies. CJS Patents §149 Public Policy fraud and illegality. Martin & Wolff      §
 4
            154-1 §156 Law evasion through artificial creation of points §423 For if a
 5
            corporation's policy is compromised as liable for criminal transgression, the
 6
            corporation then must omit it's internal policy hence criminal and

 7          constitutional policy overwrites corporate policy, else if a company is

 8          identified as a criminal corporation. "Enforcement of the law applies as a

 9          tortious liability" Isenberg v. Sherman 298 P. 1004, 212 Cal. 454      (1931). Govt

            Tort Liability §10.55-1058. De facto A Government tort exists later on pled on
10
            §H in this document.
11
                  "Public employee liability for injury proximately caused by his own
12
            negligent or wrongful act or omission," Apple Inc. is not exonerated from their
13
            liability to employees transgressions   Government Code §~ 820.8-820.9. Moral
14
            turpitude, dishonesty or corruption a cause §6101 Business Code de facto
15
            defined by the transnational. "Criminal Negligence is not to be ignored" Ward
16
            v. K Mart Corp. 554 NE 2d 223, 136 I11. 2d 132, 143 I11. Dec. 288 I11: Supreme
17
            Court (1990). As a stockholder plaintiff is entitled to bring ideas to the

18          board. "Stock brokers rights" Abrams v. Daugherty, 60 Cal. App. 297, 212 P. 942

19         (1922).    Plaintiff   as stockholder is entitled to inspect Mooney v. Bartenders

20          Union Local No. 284 48 Cal. 2d 841, 313 P. 2d 857, 313 P. 857 - Cal: Supreme

            Court, (1957).   Plaintiff as stockholder has the right to sue   Turner v.
21
            Fidelity Loan Concern 2 Cal. App. 122, 83 P. 62 (1905).    The policy of the
22
            company is fraudulent on grounds that it lack sufficient information. Fraud by
23
            insufficient information. The company policy doesn't take under consideration
24
            the variable "for if shareholder true" there is nothing stating the negation of
25
           such to engage in business,    it facilitates embezzlement and fraud.
26
           "Administrative discretion must be controlled by legislature rule this means

27          that the corporate policy is to be controlled by statutes of the Iaw." Arwine

28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 13 of 46 Page ID #:13



 1          v. Board of Medical Examiners, 91 P. 319, 151 Cal. 499 (1907). The company

 2          policy is defective referring to the fact that is bogus when not considering

            shareholders part of the equation.      As a shareholder you own part of the
 3
            company. Ideas and intellectual property that were de facto implemented by the
 4
            company. Ideas are assets. A party has the rights to benefit from the
 5
            implementation their intangible assets. Any design, copyrights, patent, or
 6
            digital file is considered an intangible asset. "Supreme Court recognized the

 7          right of stock investors to bring a common law action for fraud" Small v. Fritz

 8          Companies, Inc. 65 P. 3d 1255, 132 Cal. Rptr. 2d 490, 30      Cal: Supreme (2003).

 9          Civ Code X1170 describes deceptive practices, unfair methods of competition and

10          unfair practices. The company by implementing ideas and cutting the submitting

            party off profits engages in deceptive practices.
11

12
            § F-1-2)                      EMBEZZLEMENT
13
                       The Patent was sent to the media department and to public relations and

14          the CEO within the company as per the database transaction records of

15          mrgant@me.com plaintiff`s email. The email sent was never answered by the CEO

16          Tim Cook. The company just replied with a policy de facto fraudulent. A

            conspiracy to embezzle and engage in criminal activity then unfolded through
17
            email US v. Musacchio Court of Appeals, 5th Circuit (2014).       Plaintiff
18
            attempted to contact the CEO of the company Tim Cook and communicated animus to
19
            establish a long term business relationship with the company. The attempts to
20
            negotiate were in good faith and with animus of discussing numbers. Events
21          later unfolded at rapid pace. The products and feature then were implemented.

22          The embezzlement of the funds generated of the trolled patent was factual.

23          Fact: the transnational generating market capital and profiting, true

24          statements. Plaintiff had no monetary retribution for its efforts. Plaintiff's

            goal was to safeguard the integrity of the users. Plaintiff's intention were to
25
            secure the user's identities by creating the Touch ID feature. Disregard if the
26
            idea was solicited or not plaintiff enjoys stockholder rights onto decision of
27
            making and benefitting from profits sharing and innovator rights. Plaintiff saw
28    INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 14 of 46 Page ID #:14



 1          the necessity of implementing the modification on the products as per current


 2          cyber threats and SSL (Secure Socket Layer) vulnerabilities on computers and

            UNIX Capable devices. The ideas was needed over solicited. A case scenario
 3
            example: "A person is found unconscious on a sidewalk. An ambulance takes this
 4
            person to the hospital. The person did not solicited the service yet the person
 5
            is taken to the hospital to be attended. The person later gets billed by the
 6
            hospital for the services rendered. The factual existence of giving solution to

 7          an immediate scenario was needed; rather than solicited. This example gives

 8          plaintiff justification on safeguarding the integrity and identity of its

 9          customers and investors.    The existence of the vulnerability on SSL (Secure

            Socket Layer) when encrypting passwords is factual. Hackers as of the date are
10
            able to "sniff" passwords "sniff" herein in defined as a term form the computer
11
            science community as the act of decrypting what you type on a password field
12
            the password.   This raises privacy concerns concerning users. De facto a
13
            negligence to California Penal Code Plaintiff §502 for if nonconsensual and not
14
            proprietary owner of the monitored network. Plaintiff seeks to recover all

15          profits that pertain to his intellectual property as per California Penal Code

16          §511 "Unlawful retention of the property of another to offset or pay demands

17          held against him". Recuperation of such profits may begin at any time.      US v.

            OBILO Court of Appeals, 4th Circuit (2011).
18
                  The rights to the intellectual property were reserved as per the evidence
19
            of the original files. The recently implemented Apple Pencil was also a feature
20
            designed in 2012 by the plaintiff. The implementation of fingerprint scanners
21
            to Apple products was factual.   Embezzlement of profits generated from the
22
            sales of the products in which the idea was implemented to Apple products is a

23          fact. Plaintiff seeks to recover this market capital. The sole idea bonafide in

24          conception was taken away from plaintiff. De facto embezzlement of intellectual

25          property. The idea depicted the first biometric capable handheld device in the

            industry, new to Apple Products. Transgressions to U.S.0 Title 17 were evident.
26
            Plaintiff modified existing products and designed new products "Any
27
            modifications to a process may be claim as a bonafide invention" Diamond v.
28    INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 15 of 46 Page ID #:15



 1          Diehr 450 US 175, 101 S. Ct. 1048, 67 L. Ed. 2d 155 Supreme Court (1981). For

 2          every hardware innovation, there must exist software, for software to exist

            there must be a logical thought of the programmer which thought of the process.
 3
            For hardware to exist, the thought... an idea of the thinker must take place.
 4
            An idea is everything, without the initial idea and the efforts of the thinker
 5
            the innovation wouldn't take place. "Any modification to the process may be a
 6
            patentable asset" Gottschalk v. Benson 409 US 63, 93 S. Ct. 253, 34 L. Ed. 2d

 7          273 - Supreme Court (1972). "A modification to the product an be claimed as a

 8          new patented product". Mushy v. Eddie Murphy Productions, Inc. 611 F. 3d 322 -

 9          Court of Appeals, 7th Circuit (2010).

10
                  Plaintiff as a market watcher took screenshots as evidence of the
11
            company's proceedings for when the idea was sent out to the company. The Screen
12          Shots Metadata integral in its binary composition, preponderant evidence to the

13          milestone within the company. This screenshots are evidence. Overnight from

14          when the idea arrived to to Apple's Inc Servers. The Intellectual property was

15          embezzled from plaintiff and implemented on the devices by some within the

            company. Employee Willful Misconduct then defined. Myers v. Industrial Acc.
16
            Com., 191 Cal. 673, 218 P. 11 (1923); Diestelhorst v. Industrial Acc. Com., 32
17
            Cal. App. 771, 164 P. 44 (1917). The act of breaching, breaking or trespassing
18
            on a statue of the law shall be considered misconduct. The idea was trolled,
19
            though intellectual property was not patented. The rights to the invention were

20          reserved, for if an idea was implemented and not patented. The imagineer of

21          such is entitled to its rights   Rite-Hite Corp. v. Kelley Co. Inc. 56 F. 3d

22          1538 Court of Appeals, Federal Circuit (1995).   The product, physical patent

23         and software process were not licensed yet plaintiff is entitled to bring a

           plausible claim "Disregard if the idea was licensed or not" Oracle Corp. v. SAP
24
           AG_765 F. 3d 1081 - Court of Appeals, 9th Circuit (2014).
25

26

27

28   ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 16 of 46 Page ID #:16



 1
            § F-1-3) PROPERTY RIGHTS: PATENT TROLLING AND COPYRIGHTS INFRINGEMENT
 2

 3
                   For if an idea is implemented an a person deceived, deprived from its
 4
            rights to profit from it, who's intellectual property pertains to an original
 5
            innovator, a person has been deprived from its rights. When implementing an
 6
            idea foreign to your ownership the act of intellectual property theft is
 7
            defined. A patent then trolled. A person shall be entitled to patent for if
 8          novelty true. De facto the patent was up for sale. Poly-America, LP v. GSE

 9          Lining Technology, Inc. 383 F. 3d 1303 Court of Appeals, Federal Circuit

10          (2004)."The first sale doctrine allows owners of copies of copyrighted works to

11          resell their copies without restriction" Apple Inc. v. Psystar Corp. 658 F. 3d

            1150 - Court of Appeals, 9th Circuit (2011).    De facto Apple Inc. selling
12
            something foreign to their original works transgresses. "Copyrights misuse is a
13
            judicially crafted affirmative defense to copyright infringement, derived from
14
            the long-standing existence of such a defense in patent litigation". The patent
15
            misuse defense was originally recognized by the Supreme Court in 1942, in

16          holding that "The owner of the patent on a salt tablet machine could not

17          require licensees to use only unpatented salt tablets sold by the patent

18          o wner". Morton Sal t Co. v. G.S. Suppiger Co. 314 U.S. 488, 62 S. Ct. 402, 86

            L.Ed. 363 (1942). Attached the original Morton Salt Containers as historic
19
            relic from the case (historic pieces of history as evidence) Apple. Inc.
20
            Trespassed on inalienable rights of plaintiff...copyrights hence the product
21
            was designed for commercial purposes opposing non-profits. The nature of the
22
            copyright designs for mass production and the generating market capital. The
23
            Court stressed that "The sine qua non of copyright is originality". 499 U.S.

24          at, 111 S.Ct. at 1287. "Facts, whether alone or as a part of a compilation, are

25          not original and therefore may not be copyrighted." 499 U.S. at, 111 S.Ct. at

26          1290. Drawing upon the requirement of originality and the definition of

27          "compilation" in the Copyright Act. "The Court held that a compiler's


28    INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 17 of 46 Page ID #:17



 1           selection, arrangement and coordination, if original, are the only protectable


 2           elements of a factual compilation". 499 U.S. at 111 S.Ct. at 1289. BellSouth

             Adv. & Pub. Corp. v. Donnelley Info. Pub. 999 F. 2d 1436 - Court of Appeals,
 3
             11th Circuit (1993). The nature of the transgression de facto international,
 4 ~
             hence the company benefits globally from the implemented innovation. "Congress
 5
             carefully designed the statutory framework of federal copyright preemption. In
 6
             order to insure that the enforcement of these rights remains solely within the

 7           federal domain, section 301 (a) of the Copyright Act". Computer Associates

 8           Intern., Inc. v. Altai, Inc. 982 F. 2d 693 - Court of Appeals, 2nd Circuit

 9          (1992). A person as itself enjoys the Freedom of profiting from an

             invention:   "Every man and every nation being perfectly at liberty to buy a
10
             thing that is to be sold, or not to buy it" Laws of Nations Vattel Chapter VII
11
             Of Commerce (1758) §89 Right of Selling. For when defendant outputted a version
12
             of each product with the new feature implemented, Apple Inc. trespassed on
13
             infringement not only one count. "Plaintiff is entitled for each repetition of
14
             the unlawful act". Canatella v. Van De Kamp 486 F. 3d 1128 - Court of Appeals,

15           9th Circui t (2007).

16
            § F-1-4)                UNFAIR BUSINESS PRACTICES AND COMPETITION
17

18
                   A "fair use" of copyrighted material is not infringement. A fair use of
19
            the copyrighted material would have implied remuneration, spitting profit or a
20
            negotiated percent for unit sold, in a win<->win situation. Failing to
21
            establish a win<->win situation gives grounds to raise the concerns of unfair
22
            business practices and competition.    The skyrocketing sales reflected up in
23          the charts, a fact. Plaintiff is entitled to earn profits of its copyrighted

24          works. BMG Music v. Gonzalez 430 F. 3d 888 - Court of Appeals, 7th Circuit, 658

25          F. 3d 1150 - Court of Appeals, 9th Circuit (2005); Power Controls Corp.

            v.Hybrinetics, Inc., 806 F. 2d 234, 240 (CA Fed. 1986) Touch ID was a fully
26
            implemented and a fully functional design. Plaintiff as stockholder, for when
27
            holding ownership of the company has the right to address the board of director
28     INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 18 of 46 Page ID #:18



 1           and negotiate profit sharing on the revenues generated.    Any Person has the

 2           Right to compensation for their original works    Western Indemnity Co. v.

             Pillsbury, 170 Cal. 686, 151 P. 398 (1915).
 3

 4

 5     § F-1-5)                                 CONSPIRACY

 6

 7                    "The essence of a conspiracy is defined as two mindsets in the agreement

 8           of the commission of an unlawful act. This is enough to sustain a conspiracy".

             Smith v. US 133 S. Ct. 714, 568 US 106, 184 L. Ed. 2d 570 Supreme Court (2013).
 9
                      No statute limitation applicable to commence onto resolving a conspiracy.
10
             This elements to suffice the existence of a conspiracy are factual on grounds
11
             of the plethora of transgressed statutes of the law by Apple Inc. and company
12
             employees as accessories. They were many parties involved in the
13
             transgressions. Just the intent is a necessary to suffice the elements of this

14           crime.    United States v. Ching Tang Lo, 447 F.3d 1212 (Court of Appeals 2006).

15                    California Penal Code §182(3)(4)(5) which defines conspiracy to cheat and

16           defraud a person or    U.S.0 Title 18 §371 on Federal Policy. Liabilities of the

             corporate entity factual. Corporation liable on criminal transgression or other
17
             transgressions United States v. Park (1975) 421 US 658, 95 S. Ct., 44 L. Ed. 2d
18
             489 - Supreme Court (1903). The factual implementation of someone else's
19
             intellectual property for financial gain and blinding the original innovator
20
             from financially benefiting from such invention is an act that transgresses on
21
             California Penal Code §967 Which depicts Theft or conspiracy. The proceedings

22           against this corporation are unlawful as per California Penal Code

23           §892

24

25

26

27

28   ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 19 of 46 Page ID #:19



 1                 § F-1-5-1)                 CONSPIRACY TO EMBEZZLE

 2

 3                 By utilizing misleading intentional statements and in connection with the

 4          below pled conspiracies, the transnational conspired to embezzle. Plaintiff to

 5          today's date have not financially benefited from its intellectual property;

            past beyond the element of an attempt defined in California Penal Code §663
 6
            violating §503 of California Penal Code Apple Inc. profited out of something
 7
            foreign to their intellect, injuring plaintiff's finance in great manner.
 8

 9
                  § F-1-5-2)     CONSPIRACY TO OUTPUT FALSE FINANCIAL INFORMATION
10

11
                   Apple Inc. disappeared the transaction records in which the company was
12
            selling shares for +-$600.00 before a stock split that took place on a 7-for-1
13
            basis on June 9, 2014. The market capital became dubious. Giving grounds to

14          make the claim for conspiracy to be plausible.   Before sending out the idea to

15          the public entity, plaintiff purchased shares through a broker Scottrade. The

16          account and the transactions records on the account, for if running digital

            forensics gives preponderance to plaintiff's claims for conspiracy as
17
            evidence.   The account solid and reliable evidence King Instruments Corp. v.
18
            Perego 65 F. 3d 941 - Court of Appeals, Federal Circuit (1995).
19

20
                  Plaintiff waived the liability on being part of a scheme and sold his
21
            shares which allowed plaintiff to claim ownership of the company. Plaintiff was

22          avoiding a legal liability. Personal Liability of the stockholder is existent.

23         "This liability was first imposed by statute. Later, a substantially similar

24          provision was inserted in the Constitution. While both were in existence, the

            court held the liability was imposed by both the statute and the Constitution.
25
            Gardiner v. Bank of Napa, 160 Cal. 577 117 P. 667; for when plaintiff realized
26
            that there was fraud in progress plaintiff waived the liability by selling
27
            ownership of the company.   Hiller v. Collins, 63 Cal. 235 (1883).
28    INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 20 of 46 Page ID #:20



 1                  Plaintiff state of mind taken into account which was "For until the

 2          company not in good standings and while on Federal Investigation, to choose not

            to do business with the company. Plaintiff reported promptly to the authorities
 3
            about the negligence to comply with official duty of honor. CIA report number
 4
            #9Z7GFE5V and #K8SKDSKE proves this statements. The company outputted false
 5
            financial information US v. Green 592 F. 3d 1057 - Court of Appeals, 9th
 6
            Circuit (2010) while an Insider Trading Scheme on the NYSE was unfolding.

 7

 8                  The CIA was made aware of. Conspiracy to output false financial

 9          Information Transgressions to California Penal Code § 530.9 and U.S.0 Title 18

10          §371 as      US v. Mahaffy 499 F. Supp. 2d 291 - Dist. Court, ED New York (2007).

            Consequently jeopardizing the integrity of everybody in the company. C.J.S
11
            §895-896 False Reports on corporations Mt. Konocti Light & Power Co. v. Thelen
12
            1 70 Cal. 468, 150 P. 359 (1915).
13

14
            § F-1-5-3)       CONSPIRACY TO COMMIT FRAUD BY SECURITIES EXCHANGE
15

16                    The transnational became liable for conspiracy to commit fraud by

17          securities exchange US v. Rajaratnam 719 F. 3d 139 - Court of Appeals, 2nd

18          Circuit (2013). Database transaction log on the NYSE are clear evidence when

19          comparing the monetary transaction versus the screenshots of the records which

20          are not congruent as of today's date. Referring to the price outputted by the

            public records. Not only the transnational liable but making the NYSE     Liable
21
            as well onto being guilty by association and co-conspirer by aiding the
22
            defendant onto such task.
23

24

25

26

27

28   ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 21 of 46 Page ID #:21



 1

 2
            § F-1-5-3)             CONSPIRACY TO COMMIT FRAUD
 3
                    By continuing their deceiving practices and bad business added the
 4
            willful engagement in criminal conduct defined as fraud. Apple Inc. became
 5
            liable for Conspiracy to commit fraud. US v. Rashid 383 F. 3d 769 - Court of
 6
            Appeals, 8th Circuit (2004). A form of constructive fraud. Salahutdin v. Valley
 7
            of California, Inc. Cal. App. 4th 555, 29 Cal. Rptr. 2d 463 - Cal: Court of
 8          Appeal, 1st (1994); Ford v. Shearson Lehman American Express, Inc. 180 Cal.

 9          App. 3d 1011, 225 Cal. Rptr - Cal: Court of Appeal, 2nd (1986).

10
            § F-1-5-4)            CONSPIRACY TO DEFRAUD INVESTORS
11

12                  The company by violation the Anti Fraud Act transgressed on the integrity

13          and security of investors a form of defrauding investors. Plaintiff initial

14          contribution of an intangible asset which was solidified was defrauded by Apple

            Inc. Skilling v. US 130 S. Ct. 2896, 561 US 358, 177 L. Ed. 2d 619 - Supreme
15
            Court (2010).
16

17

18
           § F-1-5-5)             CONSPIRACY TO DEPRIVE FROM CONSTITUTIONAL RIGHTS
19

20
                   § F-1-5-5-1)   The Email Account
21

22

23                          A person who has been deprived from its rights its victim of a

                   conspiracy, concerning to their property. By keeping the email account
24
                   locked and not outputting a viable solution to access the email account
25
                   the transnational is violation plaintiff constitutional rights. Plaintiff
26
                   exhausted the administrative remedies within company policy with a
27
                   truncated intent to solve it with no luck.

28    INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 22 of 46 Page ID #:22



 1                           The constitutional transgression then morphs to be a conspiracy

 2                   to deprive a person from its constitutional rights. US v. McQueen 727 F.

                     3d 1144 - Court of Appeals, 11th Circuit    (2013). Added the facts of
 3
                     being able to profit intellectual property which transgresses onto
 4
                     plaintiff rights to own and profit from its intellectual property.
 5
                     Plaintiff as a person has rights, is a fact. The inalienable right to
 6
                     property is one of this rights. Stimson Mill Co. v. Braun, 136 Cal. 122,

 7                   68 P. 481 (1902).    Rights of owners concerning property as defined in

 8                   California Penal Code §732. Plaintiff's property like the purchase on The

 9                   App Store. Software Logic Industry Standard for the Music Industry. This

10                   slowed down production on Plaintiff's new releases for music. Plaintiff

                     is a songwriter for The American Society of writers and Composers (ASCAP)
11
                     added Final Cut Video Editing software and other purchases like VmWare,
12
                     Apple Server Software which Apple Inc. made plaintiff pay for twice.
13

14

15

16
                           § F-1-5-5-2)   The Patent
17

18
                           A patent considered an intangible asset and intangible asset
19
                     considered to be property. Plaintiff has the right to hold to his
20   'I              property Cammeyer v. Newton 94 US 225, 24 L. Ed. 72 - Supreme Court

21                   (1877). Plaintiff has the right to profit from intangible assets. This

22                   implies the right to sell patents. ex parte Quarg, 149 Cal. 79, 84 P.

23                   766, 149 Ca 1 (Supreme Court 1906) Plaintiff when deceived and victim of

                     fraud was deprived from this right. A patent is property, depriving a
24
                     person from their innovations and from profiting out the invention is a
25
                     transgression anyone inalienable rights. The rights to patent by
26
                     innovator.   United States v. Dubilier Condenser Corp. 289 US 178, 53 S.
27
                     Ct. 554, 77 L. Ed. 1114 - Supreme Court (1933).
28        INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 23 of 46 Page ID #:23



 1 '

 2                         Within the scope of the project which was in it's conception to

                    safeguard and secure the identity of the users, plaintiff objective was
 3
                    to implement the technology designed for The United States of America.
 4
                    later develop the market with government entities. Apple Inc. by
 5
                    depriving plaintiff from this rights, transgressed on conspiracy, which
 6
                    depicts the scenario of trespassing in government plans and or patents

 7                  for the government. US v. Rehak 589 F. 3d 965 - Court of Appeals, Sth

 8                  Circuit (2009). Plaintiff deals with patents for governments.   Plaintiff

 9                  as a sovereign entity entitled to protect Laws of Nations Vattel Chapter

                    VII Of Commerce (1758) §109 as a sovereign person, plaintiff brings
10
                    causes forward with animus of protecting property.
11

12

13          § F-1-5-6)                 PUBLIC CORRUPTION

14

15                  Given the tangible fact of the company being a public entity and the

16          criminal transgressions by the company, plausibility onto igniting causes for

17          Public Corruption are adequate.   Nixon v. Shrink Missouri Government PAC 528 US

18          377, 120 S. Ct. 897, 145 L. Ed. 2d 886 - Supreme Court (2000). The company's

            market capital went from $o.8T to $1.12T in the last of the third quarter and
19
            the begini of the fourth quarter as of today's date. Odd fluctuations on the
20
            market capital are noticed as anomalies in fluctuation without proper
21
            documentation or justification of the company's income and outcome months of
22
            September to October. The company has failed to cooperate in the ongoing

23          investigations further more ignores the queries asked. Important vital queries

24          that are crucial for fact proving within discovery. The price per share after

25          the stock split went from $95.00 Dollars to $224.00. The company de facto made


26          a public new about an investor selling his holding in shares. The numbers don't

            match the investor in which the company gave notice as of October 7     was mare
27
            sum of $108M nothing compared to the fluctuating values of the Dates record of
28     INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 24 of 46 Page ID #:24



 1            from September 24th to 27th (2018). The market capital fluctuated in


 2            significant variation of $.2T a significant $.1T from the $1.08T. On October 1

              the market capital went up to $l.lOT without relevant notice of where did the
 3
              money came in to the company the Price on the shares were "raising and drop"
 4
              from a X of 213 to 224 current price as of October 7 2018. From October 4th to
 5
              October 5th Overnight market capital went missing at significant sum of .2T
 6
              from 1.lOT to $1.08T a $.1T was justified as holdings sold by an investor but
 7
              the deficit is obvious, and the lack of given notice and transparency of the
 8
              company outputting the proper news to the market. Furthermore the disappearing

 9 ~I         of the public records from the serves on the brokers and the NYSE from where

10            the Stock was selling at 600+ and the market capital the same. The repetitive

11            patterns on the internal management of the company recurring in non-transparent


12            practices de facto a fact to bring to the table. The public records are

              available to everyone. When public records go missing and plaintiff's brokerage
13
              account is the only piece of evidence is alarming. Disregard if the corruption
14
              is rooted on employee misconduct driven by animus felonicus or internal and
15
              managerial defective practices, is de facto Public Corruption and a Scheme.
16
              Public corruption schemes are de facto a Federal Crime as per    F.B.I.
17            publications, records and investigation. Furthermore Worth to mention Apple

18            Inc. participates and facilitates the distribution of marijuana by allowing the

19            application WeedMaps. A Federal negligence in which the users are allowed to

              search "clandestine distribution points" in which you go to a place that
20
              majority of times does business under a fictitious name.   Cooperating and being
21
              an accessory to conspiracy to distribute marijuana is de facto a contributing
22
              factor to raise a cause of cooperating in corrupted practices.    US v.
23
              Rutherford, 824 F.2d 831 (10th Cir. 1987). Plaintiff questions why does the
24
              company approves the application when sent for approval on iTunes Connect.

25

26

27

28      ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 25 of 46 Page ID #:25



 1    § G)          CONSTITUTIONAL TRANSGRESSIONS ROOTED ON THE EVENT
 2

 3
                    With utmost respect plaintiff herein seeks to bring to the light of
 4
             jurisprudence the constitutional transgressions committed by Apple Inc.

 5           "The Constitutional guarantee of equal protection of the laws has been

 6           judicially defined to mean that no person or class of persons shall be denied

 7           the same protection of the laws which is enjoyed by other persons or other

             classes in like circumstances in their lives, liberty and property and in their
 8
             pursuit of happiness." People v. Romo 534 P. 2d 1015, 14 Cal. 3d 189, 121 Cal.
 9
             Rptr Cal Supreme (1975).   You're Freedom of will, your pursuit of perfection,
10
             the integrity one's self as a person and the wellbeing guaranteed by financial
11
             success from profiting from your inventions are safeguarded by the constitution
12
             of The United States of America. We as people have the right of feeling safe

13           and being safe, to having peace of mind that your thoughts which translates to

14           assets are safeguarded properly. It is a fact that "We as people have the right )

15           to protect our property"   Billings v. Hall, 7 Cal. 1 (1857). The inalienable

             rights in general, in which we are protected; constitutional rights Imbler v.
16
             Pachtman 424 US 409, 96 S. Ct. 984, 47 L. Ed. 2d 128   Supreme Court (1976).
17
                    Plaintiff's email address as of today`s date is sabotaged and hacked.
18
             Plaintiff has no access to his iCloud Account which deprives him from its
19
             constitutional rights of accessing his previous purchases (personal property)
20           furthermore the evidence which proves this case to be plausible is contained on

21           plaintiff's email. Plaintiff attempted several times to solve with Apple's

22           customer service department by calling 1-800-MY-APPLE and at the local Apple

23           store, with no luck. Part and elements of an existing conspiracy. "Willfulness

             requires a showing that the totality of the circumstances evince the egregious
24
             conduct that constitutes willful infringement" nCube Corp. v. Seachange
25

             Intern., Inc. 436 F. 3d 1317 - Court of Appeals, Federal Circuit (2006).
26
             Plaintiff de facto exhausted the administrative remedies when trying to give
27
             solution to the causes before igniting judicial process. Apple Inc. was
28
      INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 26 of 46 Page ID #:26



 1           uncooperative. Defendants transgressions over plaintiff third party rights

             factual   Smith v. Buege 387 SE 2d 109, 182 W. Va. 204 - W Va: Supreme Court of
 2
             Appeals (1989).
 3

 4
                   Every person enjoys the right to feel safe and secure to have the peace

 5           of mind and Laws of Nations Vattel Chapter VII Of Commerce (1758) §49 right to

 6           security "In Vain does nature prescribed to the nations as we11 as to

 7           individual the care of their self-preservations and of advancing their own

             perfection & happiness if it does no to give them a right preserved themselves
 8
             from everything... a moral power actionable right of preservation from all
 9
             injury... The right to security". Plaintiff as innovator has rights. "The
10
             conception of the invention belongs to the thinker". Smith v. Nichols 88 US
11
             112, 22 L. Ed. 566 - Supreme Court (1875). Fact this rights were absolutely

12           transgressed by Apple Inc.

13

14
      § H)                                     TORTS
15

16
             A claim for torts may be brought henceforth against Apple Inc. Federal Tort
17
      Claims Act (28 U.S.0 §§ 1346(b), 2671-2680 Prosser & Keetonon the law of torts § 1, at
18
      2-3 (5th ed 1984) Plaintiff seeks to file the several following counts of torts of
19
      law, with animus of making an initial tort claim.   Westfall v. Erwin 484 US 292, 108
20    S. Ct. 580, 98 L. Ed. 2d 619 - Supreme Court (1988). The United States Government when

21    implementing the English Law Judicial Model. Liverpool Marine Credit Co. v. Hunter, 3

22    Ch. App. 479, 4 Eq. 62 (1868).


23
             The actions of the transnational gives feasibility to bring forward actionable
24
      torts Pyrmont Ltd. v. Schott, 1939 A.C. 145 (1939). A corporation is liable for torts
25
      Carbice Corp. of America v. America Patents Development Corp. 283 US 27, 51 S. Ct.
26
      334, 75 L. Ed. 819 - Supreme Court (1931).   By engaging in willful malfeasant acts to
27
      jurisprudence and plenty of transgression to statues of the law. Apple Inc. is liable

28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 27 of 46 Page ID #:27



 1    for intentional torts, hence the transgression were made by its employees "A public

 2    entity is liable for injury proximately caused by an act or omission of an employee of

      the public entity within the scope of his employment if the act or omission would,
 3
      apart from this section, have given rise to a cause of action against that
 4
      employee."   Alma W. v. Oakland Unified School Dist. 123 Cal. App. 3d 133, 176 Cal.
 5
      Rptr Appeal, 1st Appellate Dist (1981).
 6

 7            H-1) BUSINESS TORTS

 8                 For the moral turpitude rooted on criminal transgressions by Apple Inc.

            business torts factual. Lumley v. Gye, 2 E. & B. 216 (1853);    De facto Apple
 9
            Inc. is a business therefore business torts are applicable on the
10
            aforementioned pled causes. The engagement in tortious conduct gives
11
            plausibility for business torts.
12

13

14
            § H-2) PERSONAL TORTS
15

16
                   For if a person is distressed for when victim of a several crimes against
17
            such, a person is entitled to claim personal torts. Meads v. Citicorp Credit
18
            Services, Inc. 686 F. Supp. 330 - Dist. Court, SD Georgia (1988). Given the
19
            fact of the patent trolled and the embezzlement of the intellectual property
20
            plaintiff went into a financial hardship. As copyright holder from the patents

21          for if Apple Inc. would've have rejected the business offer, plaintiff would've

22          seek to establish business with other manufacturer which would have gladly open

23          doors to plaintiff's innovation. The condition of plaintiff after infringement

            is to be taken into account.        Kaufman Co., Inc. v. Lantech, Inc 926 F. 2d
24
            1136 - Court of Appeals, Federal Circuit (1991). What if plaintiff's would have
25
            not been embezzled and trolled? Plaintiff financial success would have not been
26
            stalled and the economic harm would have been not. Plaintiff's financial harm
27
            was such that plaintiff, when unwanted and unwelcome became homeless. The
28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 28 of 46 Page ID #:28



 1          condition of plaintiff else if the transgressions would've being the opposite.

            Facts sufficient to sustain a claim for personal torts   Aro Mfg. Co. v.
 2
            Convertible Top Replacement Co. 377 US 476, 84 S. Ct. 1526, 12 L. Ed. 2d 457 -
 3
            Supreme Court (1964); Hedlund v. Superior Court 669 P. 2d 41, 34 Cal. 3d 695,
 4
            194 Cal. Rptr Supreme Court (1983). "Highly unpleasant mental reaction such a
 5
            fright, horror, grief, shame, humiliation, embarrassment, anger,disappointment
 6
            or worry" Fletcher v. Western National Life Ins. Co. Cal. App. 3d 376, 89 Cal.

 7          Rptr. 78 - Cal: Court of Appeal, 4th (1970).

 8                The fact of plaintiff becoming pauperris and homeless an embarrassing act

 9          rooted on the causes of the financial harm which branches from the

            transgressions against plaintiff. The ordeal when plaintiff having to beg for
10
            money on the streets to afford prints and other various expenses not covered by
11
            the basic welfare de facto a personal tort. Disregard current plaintiff's
12
            condition this condition This claim valid as per Atty. Gen 1953 Gov Code
13
            X54950-X54958 San Francisco v. Collins 216 Cal. 187, 13 P. 2d 912 - Supreme
14
            Court (1932); C.C.P 425.11 Something personal like reputation or feelings as

15          distinguished from an injury or damages to a person a torts of law C.J.S Torts

16          X90

17
           § H-3) CONSTITUTIONAL TORTS
18

19
                  COUNT (1): A person may claim a constitutional tort for depriving this
20
            person the right to profiting from it's property. A patent is personal property
21
            an asset.   COUNT (2): The right to access one's property. Plaintiff locked
22
            email account to access his emails and purchases de facto a constitutional
23
            tort. COUNT(3): The right to feel safe and have piece of mind when safeguarding

24          personal assets. COUNT(4): The right to due process of law. By implementing a

25          patent foreign to their intellect, other's intellectual property without

26         previous negotiation to the profitability of such invention Apple Inc. deprived

           plaintiff from due process of its inalienable rights. The blatant vague
27

28   ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 29 of 46 Page ID #:29



 1          responses a transgression to the 14th Amendment of the constitution. Old Island

 2          Fumigation, Inc. v. Barbee 604 So. 2d 1246 - Fla: Dist. Court of Appeals,
                                                                                      3rd

            Dist. (1992) Constitutional tort violation of one's constitutional rights,
 3
            redressable by civil action. 42 U.S.C.A § 1983 § § 74-87
 4

 5
            § H-4) DIGNITARY TORTS
 6

 7

 8                The embarrassment of plaintiff financial failure rooted on the criminal

            transgressions aforementioned a dignitary tort. "Including the involving injury
 9
            to one's reputation or honor. A dignitary tort of la w" Paul v. Davis, 424 U.S.
10
            693, 96 S. Ct. 1155, 47 L. Ed. 2d 405 (1976). Plaintiff dignity affected by
11
            taunting prejudice attacking the credibility as to whether plaintiff was the
12
            original inventor or not, a dignitary tort to one's reputation. Not just an
13
            uncomfortable annoying and vexing situation. The chain of unfolding events

14          parallel to plaintiff's life's event an ordeal undermined do to financial         I

15         suffering.

16

17         § H-5) PRIMA FACIE TORT

18

19                An unjustified intentional infliction of harm upon another person

20         resulting in damages by the public entity upon Apple Inc. by willfully trolling

21         patents from plaintiff's intellectual property. Apple Inc. then identified as

           tortfeasors falls into the vicarious liability of tortious act. The
22
           transnational animus domini was a tort of law hence the patent for its products
23
           was obtain by a criminal transgression.   Driven by animus furandi the
24
           transnational proceeded to sell a trolled patent as of today's date. Factual
25
           implementation of best seller products current on the market harmed plaintiff

26         financially. The non-responsiveness of Apple Inc. and failure to take

27

28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 30 of 46 Page ID #:30



 1          plaintiff's will into consideration Dole Food Co., Inc. v. Watts, 303 F.3d 1104

 2          (9th Cir. 2002); Chen v. US, 854 F.2d 622 (2d Cir. 1988).


 3
            § H-6) FALSE ADVERTISING
 4

 5
                  Some devices came out to the market. Apple Inc. by printing on the
 6
            devices "Designed by Apple Inc. "in Cupertino CA." The company false

 7          advertised. Civ Code §1170(9)(13) describes false advertising. Making false or

 8          misleading statement. Plaintiff is seeking all devices that fall onto that

 9          instance of the variable, for if existing still in circulation; to be turned in

            and users to get a brand new device with the true statement printed in the back
10
            "Designed by Apple Inc. in Upland CA".
11

12
                   This includes all the generations for iPad Mini and, iPhone 5 added a
13
            special version of the products, and for the next version of the upcoming
14          products to just advertise designed in California, for if intellectual property

15          of future designs by plaintiff; shall remain within the United States of

16          America. Lanham Act, 15 USC § 1125(a) "an injury to a commercial interest in


17          sales or business reputation proximately caused by the defendant's

            misrepresentations. Static Control has adequately pleaded both
18
            elements".   "False advertising shall be liable in a civil action by any person
19
            who believes that he or she is or is likely to be damaged by such act." Lexmark
20
           Intern. v. Static Control, 134 S. Ct. 1377, 572 U.S., 188 L. Ed. 2d 392 (2014).
21

22

23

24

25

26

27

28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 31 of 46 Page ID #:31



 1     § I)                                MOTIONS
 2
       § I-1)   MOTION TO PROSECUTE FOR CRIMINAL LIABILITIES
 3                    Plaintiff by this means moves the court and politely implores your honor 'i

 4              for justice to be served. Plaintiff animus is capiendi.   To issue warrants for

 5              the arrest of the involved parties as defined in California Penal Code §814

 6              Moores v. Greenberg 834 F. 2d 1105 - Court of Appeals, 1st Circuit (1987).

                Liabilities rooted on the criminal negligence. Gives grounds for prosecution of
 7
                the parties involved within Apple Inc. Plaintiff seeks the criminal prosecution
 8 ~
                for the blatant actions disgraceful to jurisprudence of all the previously pled
 9
                criminal transgressions. Liability on accountants the elements of the crime for
10
                the causes pled to be sufficient enough to sustain a criminal conviction. To

11              any criminal action a liability then exists. Manville Sales Corp. v. Paramount

12              Systems, Inc. 917 F. 2d 544 - Court of Appeals, Federal Circuit (1990)

13              "Assignee of patent may prosecute".   Littlefield v. Perry, 1874, 21 Wall. 205,

                88 U.S. 205, 22 L.Ed. 577 (1875). Plaintiff demands from defendant to cooperate
14
                on the investigation to avoid further legal actions.
15

16
       § I-2)   MOTION FOR SANCTIONS
17              Plaintiff by this means seeks for the entity to be sanctioned as

18     Connoisseurs discretion    Chambers v. Nasco, Inc.

19     501 US 32, 111 S. Ct. 2123, 115 L. Ed. 2d 27 - Supreme Court (1991).

20              Plaintiff herein moves the court to sustain this motion on the following

       grounds: For every wrong doing and transgression to the law, the existence of
21
       punishment must be.    Laws of Nations Vattel Chapter VII Of Commerce (1758) §69
22
       The right of punishing the unjust.
23

24

25

26

27

28     ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 32 of 46 Page ID #:32



 1     ~ § I-3)   MOTION TO INTRODUCE WEBSITE AS EVIDENCE

 2                       Artistic composition are admissible as evidence in a court of law

 3     according


 4                § I-4-1) Patterns applied to jurisprudence and the alarm that fraud ignites

                  https://soundcloud.com/gantiesongs/disturbia-and-echoes-r "SUAP RENCANA"
 5
                  Translates form Indonesia To Public Corruption.
 6 '
                  § I-4-2) Digital paintings docummenting conspiracy
 7
                  https://twitter.com/DesignerGantie/status/93356601686445260
 8
                  https://twitter.com/DesignerGantie/status/93345416071166361
 9

10
       §~                                           DAMAGES
11

12

                     This section provides plaintiff animus recuperandi for all damages
13
            applicable in light of the law. Plaintiff is entitled for damages, per
14
            malfeasance to jurisprudence. Arnold v. Hopkins, 203 Cal. 553, 265 P. 223
15
            (1928). Plaintiff seeks the evil intent to be remedied. The proposed remedy
16
            variates.    Plaintiff seeks monetary relief to be sought, the full payment of
17          damages to be recovered globally. The defendant has the money obligation of

18          converting foreign money In re Bonacina, 1912 Ch. 2 394 (1912). Plaintiff is

19          open to negotiation of swap of commodity. Plaintiff seeks Transfer of ownership

20          and allocation of substantial percentage of the company's ownership Alcock v.

            Smith, Ch. 1 238, 1 Ch. 238 (1892).      Plaintiff seeks to obtain from Apple Inc.
21
            the business records which contain the statistics of the entire sales of the
22
            product per country aforementioned trolled patents, to be disclosed virtually
23
            from the internal system of the company not in printed records. Plaintiff seeks
24
            to stipulate a set price on the damages to be calculate hence the number is a
25          variable and not a static number. Plaintiff seeks damages on the equity of

26          common stock at market value compensation ->      CCP §1249 right to actual

27          value    City of Los Angeles v. Pomeroy, 124 Cal. 597, 57 P. 585 (1899).      The

28     ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 33 of 46 Page ID #:33



 1        market value must calculated live in person with the search SQL query, to


 2        calculate a negotiated percentage of "damage per sold unit" The following query

          should be SELECT * FROM WHERE PRODUCT LIKE iPhone 5S, iPhone SE, iPhone 6,
 3 ~
          iPhone 6 Plus, iPhone 6S, iPhone 6S Plus, iPhone 7, iPhone 7 Plus, iPad mini 2,
 4
          iPad mini 3, iPad mini 4, iPad Air 2, iPad Pro 12.9 1G, iPad Pro 9.7, iPad Pro
 5
          10.5, iPad Pro 12.9 2G iPad (2017), iPad (2018), iPhone 8, iPhone 8 plus and
 6
          any other version which was not produced for American market. This includes

 7        Asia, Europe and Canada and any other country in the world.

 8           Percentage of the defendant net worth to be negotiated as damages from the

 9        total global sales. Walker v. Signal Companies, Inc. 84 Cal. App. 3d 982, 149

          Cal. Rptr     Cal: Court of Appeal, 4th (1978).
10

11
                 After stating facts plaintiff seeks damages in which by law is entitled
12        to Dammert v. Osborn, 140 NY 30 - (1893). Plaintiff seeks to recuperate damages

13        from the sales abroad including all the countries in which the transational

14        conducted business.   "Plaintiff is entitled to recollect from foreign

15        countries, money received by defendant" Currie v. Bircham, 1 D. & R. 35, 1

          Dowl. & Ry. 35 (1822).   As per California Penal Code § 637.2 Civil action is
16
          permitted. The amount of damages done by defendant is uncertain hence it
17
          variates on a daily basis according to the end of sales at close, an
18
          exponential number of a well-designed self-sustained economic model versus
19
          innovation, which pertains to the effect of the use upon the potential market

20        for or value of the copyrighted work.

21

22
             § J-1)   DAMAGES FOR PATENT TROLLING AND COPYRIGHTS INFRINGEMENT
23

24
                      For if the company produced substantial growth rooted on sells of the
25
             trolled new features offered of as new products plaintiff entitled to damages.

26          "adequate to compensate for the infringement" Atlas-Pacific Engineering Co. v.

27           Geo. W. Ashlock Co. 339 F. 2d 288 - Court of Appeals, (9th Circuit    1964)

28     INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 34 of 46 Page ID #:34



 1          Plausibility to this claim giving ground for plaintiff to demand damages and

 2          affirmative relief sought from the public entity, true as per past decisions

            the court has made. Perreca v. Gluck 295 F. 3d 215 - Court of Appeals, (2nd
 3
            Circuit 2002). The profits resulting from an implemented innovation pertaining
 4
            to plaintiff, translates to damages, financial losses. A transgression then
 5
            defined which deflects a consequent liability due to plaintiff, giving
 6
            preponderance to a prima facie tort and intentional tort by Apple Inc.

 7         "Plaintiff elected to seek statutory damages under 17 U.S.C. ~ 504(c)(1)".       BMG
 8          Music v. Gonzalez 430 F. 3d 888 - Court of Appeals, 7th Circuit, 658 F. 3d 1150

 9          - Court of Appeals, 9th Circuit (2005). Plaintiff seeks monetary relief to be


10          sought calculated on a   percentage of every single unit sold post implementing

            the fingerprint scanner. "Percentage may be awarded for willful infringement"
11
            Underwater Devices Inc. v. Morrison-Knudsen Co. 717 F. 2d 1380 - Court of
12
            Appeals, Federal Circuit (1983).
13
                  Plaintiff seeks precision on the damages. "The amount of lost profits
14
            a warded cannot be speculative but the amount need not be proven with unerring

15
            precision". Bio-Rad Laboratories v. Nicolet Instrument Corp. 739 F. 2d 604 -

16
            Court of Appeals, Federal Circuit (1984). 35 U.S.C. § 284, permits the court to
17          increase the assessed damages up to three times. Plaintiff seeks three times

18          the damages   for infringement.   Plaintiff is entitled to damages Mformation

19          Techs., Inc. v. Research in Motion Ltd. 830 F. Supp. 2d 815 - Dist. Court, ND

20          California (2011). Full compensation for damages "damages adequate to

            compensate for the infringement" General Motors Corp. v. Devex Corp 461 US 648,
21
            103 S. Ct. 2058, 76 L. Ed. 2d 211 - Supreme Court (1968).    Plaintiff having
22
            the original digital file depicting the copyrighted intellectual property of
23
           the implementation of Touch ID makes plaintiff the owner of the innovation
24
           "Owner may recover damages" TWM Mfg. Co., Inc. v. Dura Corp. 789 F. 2d 895 -

25          Court of Appeals, Federal Circuit (1986). Plaintiff herein seeks monetary

26         relief to be sought for willful infringement McLaughlin v. Richland Shoe Co.

27         486 US 128, 108 S. Ct. 1677, 100 L. Ed. 2d 115 - Supreme Court (1988). Evidence


28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 35 of 46 Page ID #:35



 1            which gives preponderance to prove the plaintiff's claim to be true is factual


 2            and existent. "Demonstrations of infringing activity along with avowals of the

              infringing purpose and use for which it was made supported liability for patent
 3
              infringement. The classic case of direct evidence of unlawful purpose occurs
 4
              when one induces commission of infringement by another, or "entices or
 5
              persuades another" to infringe". Black's Law Dictionary 790 (8th ed. 2004), as
 6 '~
              by advertising. Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd. 545 US 913,

 7 ,          125 S. Ct. 2764, 162 L. Ed. 2d 781 - Supreme Court (2005).                   ~~The statute makes

 8 '          it unlawful for any person to use use the same of one as a duplicate for the

 9 ~          purpose of sale any manufactured vessel hull or component part of a vessel made


10            by another without the written permission of that other person." § 559.94(2).

              The statute also makes it unlawful for a person to "knowingly sell a vessel
11
              hull or component part of a vessel duplicated in violation of subsection (2)§
12
              559.94(3). Damages, injunctive relief, "Any person who suffers injury or damage
13
              as the result of a violation" of the statute. § 559.94(4). The statute was made
14
              applicable to vessel hulls or component parts duplicated through the use of

15            direct molding after July 1, 1983. § 559.94 (5)". Bonito Boats, Inc. v. Thunder

16            Craft Boats, Inc. 489 US 141 - Supreme Court (1989). "Retroactive damages may

17            collected from defendant by plaintiff" Thornton v. J Jargon Co.                    580 F. Supp.

              2d 1261 - Dist. Court, MD Florida (2008). Plaintiff de facto entitled to
18
              recover may recover for infringement Moore v. Marsh 74 US 515, 19 L. Ed. 37 -
19
             supreme court, (~ 859). /* There is a discrepancy on the public records when compared to the book ~
20
             ofthe year ofthe case law book says elsewisefrom online transaction records online states 1869 on the
21
             book 1868 */
22
                     TOTAL: $ TBN (To Be Negotiated) For Damages
23

24

25

26

27

28      INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 36 of 46 Page ID #:36



 1 1         § J-2)                       DAMAGES FOR LOSS OF PROFITS

 2

 3                    Plaintiff seeks full compensation for damages on loss of profits for ever

 4           business transaction in which the transnational engaged in selling the products

 5           aforementioned Rite-Hite Corp. v. Kelley Co., Inc. 56 F. 3d 1538 - Court of

             Appeals, Federal Circuit (1995). "Plaintiff is entitled to revenue for innovati n
 6
             and damages to be awarded". TECHNOLOGIES, SA v. Cyrano, Inc. 460 F. Supp. 2d 19          -
 7
             Dist. Court, D. Massachusetts (2006). For if an injury harm and loss is factual, a
 8
             compensation for such harm is due Neal v. Farmers Ins. Exchange 582 P. 2d 980,       1
 9
             Cal. 3d 910, 148 Cal. Rptr - Cal: Supreme (1978). "Plaintiff may negotiate rati s"
10
             Century Sur. Co. v. Polisso     43 Cal. Rptr. 3d 468, 139 Cal. App. 4th - Cal: Cou t
11           of Appeal, 3rd (2006).     Plaintiff seeks to regain gross revenues attributed to

12           infringement    Davis v. The Gap, Inc. 246 F. 3d 152 - Court of Appeals, 2nd Circ it

13           (2001).

                      TOTAL: $ TBN (To Be Negotiated) For Damages.
14

15

16
             § J-3)                DAMAGES FOR BEEN VICTIM OF CONSPIRACY
17

18                    Plaintiff seeks to move the court to impose sanctions to the entity

19           seeking monetary retribution rooted on the counts of conspiracy committed by

             the transnational. At Plaintiff entitled to relief when victim of a
20
             conspiracy half a billion dollars for each count of conspiracy. Domanus v.
21
             Lewicki 742 F. 3d 290 - Court of Appeals, 7th Circuit (2014). Damages caused
22
             by civil conspiracy are measured under new Mexico Law     Advanced Optics
23
             Electronics, Inc. v. Robins 769 F. Supp. 2d 1285 - Dist. Court, D. New
24           Mexico (2010). Elements of a conspiracy may be proven by direct and

25           circumstantial evidence.

26                    TOTAL: $3.5B For Conspiracy Damages

27

28     ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
         Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 37 of 46 Page ID #:37



     1          § J-4)                 DAMAGES FOR BEEN VICTIM OF EMBEZZLEMENT

 2

 3                       The company experienced growth of almost 269.512195122 0. The
                                                                                       market
 4              capital substantially increased to $1.08T as of September 14 2018
                                                                                  by October

 5              2 2018 the company market capital went to $1.12T a substantial
                                                                               amount from

                2012 to 2018. The market capital mainly came from the sale of
 6                                                                            the devices

                and from manipulating the price per share at a incremental rate from
 7                                                                                   $95.00

                to $232.00. This facts may be corroborated with financials statements
 8
                outputted by the company Grain Processing Corp. v. American Maize-Prod
                                                                                       ucts
 9
                185 F. 3d 1341 - Court of Appeals, Federal Circuit (1999). Plaintiff
                                                                                     is
10
                seeking monetary compensation for the variable amount to be calculated
                                                                                       . The
11              correct amount would be a substantial percentage of the entire
                                                                               market

12              capital on the sales generated by the total amount of units
                                                                            sold globally by

13              the company, units sold after implementation. Plaintiff is entitled
                                                                                    to

                recover damages and loss of profits Poly-America, LP v. GSE Lining
14
                Technology, Inc. 383 F. 3d 1303 - Court of Appeals, Federal Circuit
15                                                                                  (2004).


16                       For if infringement true, which is so in this case; plaintiff
                                                                                       is
17             entitled to compensation for every single unit sold Panduit Corp. v.

18             Stahlin Bros. Fibre Works 575 F. 2d 1152 - Court of Appeals, 6th
                                                                                Circuit

               (1978). The panduit formula which depicts the total of units
19                                                                          sold minus

               the units returned divided by... Plaintiff animus recuperandi
20
               lawful     Scripto-Tokai Corp. v. Gillette Co. 788 F. Supp. 439, 22 USPQ 2d
21
               1678 - Dist. Court, CD California (1992). "Plaintiff is entitled
                                                                                to
22
               recuperate multiple damages and to recover damages globalwise".
                                                                               "Defendant
23
               m ust be specific about costs"    Frank Music Corp. v. Metro-Goldwyn-Mayer,
24             Inc. 772 F. 2d 505 - Court of Appeals, (9th Circuit 1985).

25                       TOTAL: A VARIABLE NUMBER TO BE CALCULATE WITH PANDUIT FORMULA

26

27

28       INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 38 of 46 Page ID #:38



 1          § J-5)   DAMAGES FOR BEEN VICTIM OF FRAUD

 2
                     Plaintiff is entitled to recover damages to the existing liability
 3
            of the transgression of the statues that defines fraud, Exxon Shipping Co.
 4
            v. Baker 554 US 4 71, 128 S. Ct. 2605, 171 L. Ed. 2d 570 Supreme Court
 5         (2008). Added the immediate order to modify corporate policy for

 6          unsolicited ideas which is a vicarious criminal liability. Plaintiff was

 7          deceived for six years. Plaintiff seeks to recuperate damages to be paid

 8          in full. Two and half billion dollars per year. $2.5 billion times six

            years.
 9
                     TOTAL: 15 Billion Dollars.
10
           § J-6) DAMAGES FOR TORTS
11

12                   Plaintiff herein seeks full compensation for all the

13         aforementioned damages. Defendant in due liability for

14         compensation factual and plaintiff's request plausible. A total

15         amount of

           9 counts of torts of law.
16

17

18                   § J-6-1)     DAMAGES FOR BUSINESS TORTS

19

20                   The existing transgressions to jurisprudence and the

21         factual grounds of defendant de facto a public entity Plaintiff

22         makes a claim to recuperate damages for business torts

           plausible. Texaco, Inc. v. Pennzoil Co. 729 SW 2d 768 - Tex: Court
23
           of Appeals (1987).
24
            $1B Times 19 (Total Number of Products Which Contained the Feature).
25
           A reasonable amount to not put the company in a financial deficit.
26
           TOTAL: $19B the company would be in debt.
27

28   ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 39 of 46 Page ID #:39



 1 !                § J-6-2)      DAMAGES PERSONAL TORTS

 2 '
                    Plaintiff seeks to recover maximum damages for every transgression to a
 3
             malfeasance of jurisprudence defined as a tort of law. The existing due damage
 4
             is factual. "Plaintiff is entitled to collect damages for torts of law" College
 5
             Hospital Inc. v. Superior Court 882 P. 2d 894, 8 Cal. 4th 704, 34 Cal. Rptr.

 6           2d   Supreme Court (1994). "For when blame substantial and evident in most

 7           favorable light of plaintiffs true and tangible evidence supports the initial

 8           complaint it gives grounds to sustaining the claim without leave to amend "

             Plaintiff is entitled to damages for harm.   Holdgrafer v. Unocal Corp. 73 Cal.
 9
             Rptr. 3d 216, 160 Cal. App. 4th - Cal: Court of Appeal, 2nd. (2008).
10

11
             Emotional distressing a person is unlawful an ordeal, damages may be recovered    'I
12
             for such   Mendez v. County of San Bernardino 540 F. 3d 1109 Court of Appeals,
13           9th Circuit (2008). "Intentional infliction of emotional distress is to be a

14           valid actionable tort" plausibility on plaintiff recuperating damages for such

15           Capelouto v. Kaiser Foundation Hospitals 500 P. 2d 880, 7 Cal. 3d 889, 103 Cal.

16           Rptr - Cal Supreme. (1972); Krouse v. Graham 562 P. 2d 1022, 19 Cal. 3d 59, 137

             Cal. Rptr - Cal: Supreme (1977); Reader's Digest Assn. v. Superior Court 690 P.
17
            2d 610, 37 Cal. 3d 244, 208 Cal. Rptr Supreme Court (1984); Bains LLC v. Arco
18
            Products Co. 405 F. 3d 764 - Court of Appeals, 9th Circuit (2005). An amount
19
            calculated on the average price for torts $40,000 multiplied by the amount of
20
             years (six years) since release per count of tort per count.

21                  TOTAL: $240,000

22

23

24

25

26

27

28
       INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 40 of 46 Page ID #:40



 1                § J-6-3) DAMAGES FOR TORTS AND CONSTITUTIONAL RIGHTS VIOLATIONS

 2

 3                Plaintiff herein seeks to recover damages from defendant. And

 4          constitutional rights violations by defendant transgressions. Plaintiff by this
                                                                                            ,

 5          means seeks full compensation maximum damages on constitutional rights

            transgressions, added factual petition seeking the defendant to unlock the
 6
            iCloud account mrgant@me.com de link the original flawed hacked and compromised
 7
            account a.argueta.art@gmail.com and restructure better the algorithms that
 8
            allow people to recuperate an gain access to their accounts. $240,000 an amount
 9
            calculated on the average price for torts $40,000 multiplied by the amount of
10
            years (six years) since release per count of tort per count (4 counts)

11                TOTAL $240,000 * 4 = $960,000.000

12

13
                  § J-6-4)     DAMAGES FOR DIGNITARY TORTS
14
                  Plaintiff herein seeks maximum damages and affirmative relief to be
15
            sought for dignitary torts for the "intentional wrongdoing and the ripple
16
            effect of rooted ordeal and certain kinds of indignities". TOTAL:SI.7M
17

18
                  § J-6-5)     DAMAGES FOR PRIMA FACIE TORT
19

20                Plaintiff herein seeks maximum damages and affirmative relief to be

21         sought for prima facie torts, for the "Infliction of intentional. harm,

22
           resulting in damages, without excuse or justification, by an act". An amount

23         calculated on the average price for torts $40,000 multiplied by the amount of

24         years (six years) since release per count of tort per count. TOTAL: $240,000

25

26

27

28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 41 of 46 Page ID #:41



 1                  § J-6-6)         DAMAGES FOR FALSE ADVERTISING

 2

 3                  Plaintiff herein seeks maximum damages and affirmative relief to be

 4            sought for false advertising torts, for printing in the back of the products

 5            designed in Cupertino as a false statement.Boosey & Hawkes Music Publishers v.

              Walt Disney 934 F. Supp. 119 - Dist. Court, SD New York, (1996). Plaintiff
 6
              entitled to damages.
 7
                    TOTAL $3,200
 8

 9                  § J-6-7)         TOTAL AMOUNT ON DAMAGES
10
              TBN + TBN + $3.5B + PANDUIT + $15B + $19B + $240K+ $960K+ $1.7M + $240K
11            $3.2K
              +NON ECONOMIC DAMAGES
12            +PUNITIVE DAMAGES
              +FOREIGN SALES [TBC]

13 ~,

14
             §~                                   CIVIL PENALTIES
15

16
                    Driven by animus capiendi plaintiff seeks to assess the civil

17           Liability described under U.S.0 Title 18 § 1961- § 1968 SEDIMA, SPRL v.

18           Imrex Co., Inc. 741 F. 2d 482 - Court of Appeals, 2nd Circuit (1984). The

19           transgression on a statue of the law which describes a criminal action

             gives grounds for Civil penalties under RICO Tafflin v. Levitt 493 US
20
             455, 110 S. Ct. 792, 107 L. Ed. 2d 887 - Supreme Court (1990) "The
21
             existing difference between awarded punitive damages and civil penalties
22
             are authorized for the same conduct" State Farm Mut. Automobile Ins. Co.
23
             v. Campbell 538 US 408, 123 S. Ct. 1513, 155 L. Ed. 2d 585 - Supreme
24
             Court (2003)      Civil remedies injunction for plaintiff for as stockholder
25
              Albert v. McGrath 104 F. Supp. 891 - Dist. Court, SD California (1952).

26

27

28      INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 42 of 46 Page ID #:42



 l i         § L)                  NON ECONOMIC &ECONOMIC DAMAGES
 2
                    "For if based on levels deserving censure or condemnation. And
 3
             substantiated award of non economic damages". Roby v. McKesson Corp. 219
 4
             P. 3d 749, 47 Cal. 4th 686, 101 Cal. Rptr.   Cal: Supreme (2009) The
 5
             transnational interfere with plaintiff economic advantage, plaintiff then
 6
             entitled to economic damages Di Loreto v. Shumake 38 Cal. App. 4th 35, 45
 7
             Cal. Rptr. 2d - Cal: Court of Appeal, 2nd, (1995).

 8

 9

10
             § M)                       PUNITIVE DAMAGES
11

12
                    "Plaintiff is entitled to punitive damages" Slaughter v. Legal

13           Process & Courier Service 162 Cal. App. 3d 1236, 209 Cal. Rptr - Cal:

14           Court of Appeal, 1st (1984) Apple Inc. as a public entity liable for


15           damages due. INZERILLO v. GREEN TREE SERVICING LLC Dist. Court, ND

             California, (2014).
16
             Plaintiff is entitled for punitive damages for fraud Civil Code §3294
17
            Suzuki Motor Corp. v. Consumers Union of US 330 F. 3d 1110 - Court of
18
             Appeals, 9th Circuit (2003). Punitive Damages may be calculated based
19
            on severity of defendant's transgression versus the injury caused;
20
            added the financial condition Las Palmas Associates v. Las Palmas

21           Center Assoc 235 Cal. App. 3d 1220, 1 Cal. Rptr. 2d - Cal: Court of

22          Appeal, 2nd. (1991).

23

24

25

26

27

28     INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
         Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 43 of 46 Page ID #:43



     1             N)     DAMAGES FOR SALES BY NON-OWNERS DOMESTIC AND INTERNATIONAL

 2                        De facto Apple Inc. products are sold globally.

 3               Plaintiff seeks to recollect damages from every country in

 4               which the products were sold.

                 Laws of Nations Vattel Chapter V22 Of Commerce (1758) §64
 5
                 "C~bligation of all nations to cultivate justice"
 6
                 TOTAL: TBC (TO BE CALCULATED)
 7

 g

 9        §O)                                EVIDENCE

10               "Invoked the principle that to uphold a decree for specific performance

          there must be clear and convincing evidence, and not merely such evidence
11                                                                                  as
          would sustain a recovery at law" Sinclair Rfg. Co. v. Jenkins Co. 289
                                                                                US 689, 53
12
          S. Ct. 736, 77 L. Ed. 1449 - Supreme Court (1933). With utmost respect Plaintiff
13
          seeks the cooperation of Apple Inc. to unlock the email account which
                                                                                contains
14
          the digital file and original blueprint which make this complaint plausible.
                                                                                       The
15        evidence speaks for itself and gives preponderance to to plaintiff causes.
                                                                                         "Set
16        of Facts often has to be considered from the standpoint of more than
                                                                               one legal

17        consult several legal systems"    United States v. Guaranty Trust Co. 69 F. 2d 799

18        - Circuit Court of Appeals, 2nd Circuit (1934). Plaintiff's Brokerage
                                                                                account is

          evidence for the case. Plaintiff moves the court to introduce and open
19                                                                               its

          brokerage account in the litigation process. Plaintiff seeks the court
                                                                                 to make a
20
          computer with Internet and a scanner available to prove the causes and
                                                                                 facts
21
          brought to the light of justice. Corporation records in general are
                                                                              evidence.
22
          Plaintiff Seeks to introduce the database transactions records from
                                                                              every
23        purchase made and moves to introduce them to the court as evidence.
                                                                              Oppenheimer
24        Fund, Inc. v. Sanders 437 US 340, 98 S. Ct. 2380, 57 L. Ed. 2d
                                                                         253 - Supreme

25        Court (1978).


26

27

28       INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 44 of 46 Page ID #:44



 1           Plaintiff seeks to introduce the accounting records from the public entity as

 2    evidence   La Buy v. Howes Leather Co. 352 US 249, 77 S. Ct. 309, 1 L. Ed. 2d 290 -

      Supreme Court Court (1957). Stockholder have the right to audit a public entity. The
 3
      transaction records of every purchase is clear evidence that defendant did de facto
 4
      benefited from the innovation. The original digital file sent as digital sketch to the
 5
      company with integral metadata depicting the creation and implementation of new
 6
      product on to the market is solid substantial evidence that proves the ownership of

 7    the innovation. The discrepancy on dates when compared to release dates are factual. A

 8    simple right click on the file followed by analyzing the properties of the file will

 9    show the original date created. The file may be sent to digital forensics for

      inspection.
10

11

12           The ISP transaction records proves the ownership of the email account

13    containing the evidence. mrgant@me.com was linked to his MAC mini the Mail App is tide

14    to the SMTP server from the ISP which was linked to the name of plaintiff' mother in

      an apartment complex residential area in Upland CA. The offline copies of the email
15
      accounts proves the ownership of this accounts. The routing tables and the router
16
      itself are evidence for the case. This gives plausibility to the claim and supports it
17
      with evidentiary matter to support such. Facts of particular cases brought within a
18
      rule on legislature applicable Dominguez Land Corp. v. Daugherty, 196 Cal. 468, 238 P.
19
      703, 238 P.2d 703 (1925). The supporting cases make the claim substantial, not riddled

20    and not bogus. It gives solidity to the claim brought before this court of law. The

21    files to be introduced as evidence in court proves the claim for patent infringement

22    to be substantial. The fine print on the digital file proves the original owner to be

     plaintiff. A patent may be claimed by it's original inventor Coffin v. Ogden 85 US
23
      120, 21 L. Ed. 821 - supreme Court (184) Other references. Arwine v. Board of Medical
24
     Examiners, 91 P. 319, 157 Cal. 499(1907); People v. Monterey Fish Products Co. 195 Cal. 548, 234 P.
25
     398(1925); People v. Sacramento Drainage Dist. 155 Cal. 373, 103 P. 207(1909). Fact that the
26
     company for a prolonged period of time used the patent to profit this is considered
27
     evidence less than ten years John E. Thropp's Sons Co. v. Seiberling 264 US 320, 44 S.
28
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 45 of 46 Page ID #:45



 1    Ct. 346, 68 L. Ed. 708 - Supreme Court (1924). "Any competent evidence direct or

      circumstantial can be used to establish constitutional actual malice" Herbert v.
 2                                                                                     Lando

      441 US 153, 99 S. Ct. 1635, 60 L. Ed. 2d 115 - Supreme Court (1979). The evidence
 3                                                                                      is

      substantial to prove defendant's wrong without serious doubt about the truth of the
 4
      statements St. Amant v. Thompson
 5
      390 US 727, 88 S. Ct. 1323, 20 L. Ed. 2d 262 - Supreme Court (1968).
 6
      §P)                                CONCLUSION
 7
             Plaintiff seeks the court to exercise affirmative judgement for the cause
 8
      brought before this court. Plaintiff seeks damages paid in full. Plaintiff animus
 9
      recuperandi as to the transgressions and the monetary liabilities to be paid in
10
      full. Plaintiff seeks to assess the damages internationally within United States

11    Jurisdiction. The factual plausibility to extend territoriality beyond border

12    factual.Laws of Nations Vattel Chapter VII Of Commerce (1758). §92 "Every nation

13    is to choose" Plaintiff seeks to give solution at domestic level hence the causes

      in this document took event in the State of California, this to respect the
14
      precedence of the statutes of International Court of Justice.   "How far it wi11
15
      engage in commerce (liabilities on the countries that choose to continue to
16
      support the causes of the transnational). Duty of every nation". Laws of Nations
17
      Vattel Chapter VII Of Commerce (1758) §63 The necessity of observation of justice
18
      in human society. Liabilities as describe in Labor Code §7286.9 which depicts
19
      remedies, retroactive payments, mitigation, infringe benefits, injunctive and
20
      other equitable relief are factual. "The Senate Committee added that the

21    "Department of Commerce .believes and the Committee agrees that the remedy should

22    be available in exceptional cases, i. e., in infringement cases where the acts of

23    infringement can be characterized as 'malicious,'   fraudulent,' 'deliberate,' or

24 'willful . "' Sen.Rep. No. 93-1400, 93rd Cong., 2d Sess. (1974), reprinted in (1974)

      U.S. Code Cong. and Admin.News pp. 7132, 7133, 7135 (emphasis added). Vuitton
25                                                                                  Et

     Fils, SA v. Crown Handbags 492 F. Supp. 1071 - Dist. Court, SD New York (1979)
                                                                                   .
26
     Plaintiff seeks to leave the door open as of further business within the company.
27

28   INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS
     Case 2:18-cv-09145-JAK-FFM Document 1 Filed 10/24/18 Page 46 of 46 Page ID #:46



 1 1

 2
                                                     PROOF OF SERVICE
 3

 4                                           I declare under penalty of perjury that the statements

 5                                and causes brought to the light of jurisprudence are true. I


 6                                have solemnly said all the truth. This documents was written

                                  while under oath by local agents, including Officers, deputy
 7
                                  sheriffs and others. I Gantie, was under oath during the
 8
                                  writing on the first initial complaint and at all times at
 9
                                  stages when writing this suit in law. Oath was administered
10
                                  irregularly through refractions. California Penal Code §121 ,

11                                Federal Oath administered and understood as in patterns of §123

12                               then number 2 flashed in which we have previously agreed that

13                               is to administer Federal oath disregard the discrepancy on


14                               U.S.0 and for the sake of convenience.

                                 I have served this initial complaint to Apple Inc.through email
15
                                 at legal@apple.com
16
                                             By method of service of was electronic.
17
                                             The documents served were:
18
                                             Initial complaint, Discovery, Causes Damages and Motions

19

20                                                                                                          DATE: October 23rd 2018
                   ~~~                    ~~
21
                   International Law Attorney. (I.L.A)
                   GANTIE
22

23
                                                                                                                           i   ed name
24
       Server's address
25     Post Office 333E Arrow Hwy, Upland CA Attention Guillermo Antonio Herrera Argueta General Delivery

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26

27

28     ~ INITIAL COMPLAINT,DISCOVERY,CAUSES DAMAGES AND MOTIONS




                                                                                                                                         ~a9e ~~~q
